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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO: 21-CV-60116-RKA

  DONALD G. PETROCK,

        Plaintiff,
  v.

  J&J TOWING, INC.,

        Defendant.
                                       /

             JOINT MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT
          AND STIPULATION OF DISMISSAL WITH PREJUDICE OF COUNT I ONLY

        The Plaintiff, DONALD G. PETROCK, and the Defendant, J&J TOWING, INC.,

  file this Joint Motion for Approval of Settlement Agreement and Stipulation of

  Dismissal With Prejudice of Count I only, and respectfully state as follows:

        1.      Count I of this three-Count Complaint is an action filed under the Fair

  Labor Standards Act (“FLSA”), 29 U.S.C. § 206(d), in which PETROCK sought

  recovery for unpaid overtime allegedly due and owing to him. J&J TOWING

  denied PETROCK’s allegations and disputed the validity of his claims.

        2.      The parties have reached a resolution of Count I for overtime

  compensation pursuant to the FLSA, and entered into settlement agreement. A

  copy of the settlement agreement is attached hereto as Exhibit “A”. Because of

  the nature of the plaintiff’s claims under Count I, the settlement agreement

  requires Court approval in order to become effective. See Lynn’s Food Stores,

  Inc. v. U.S., 679 F.2d 1350, 1352 (11th Cir. 1982).
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        3.     In order to avoid the uncertainties of litigation and the attorneys’ fees

  associated with this type of action, the parties negotiated a resolution of the FLSA

  claims. Importantly, throughout the entirety of the resolution process, the Plaintiff

  was represented by counsel with experience in labor and employment law. The

  Defendant was also represented by competent counsel throughout this process.

        4.     Fairness of Settlement: The settlement includes a fair and reasonable

  amount of overtime wages, liquidated damages, payment to cover the plaintiff’s

  attorney’s fees and costs, and separate consideration for the general release,

  confidentiality, non-disparagement, and jury trial waiver provisions.              The

  agreement reflects the exact amount he is receiving, as well as how much his

  attorney is receiving. The final four provisions are reasonable and necessary

  because Defendant denies Plaintiff’s allegations. Nonetheless, in an effort to

  resolve the issues contained in Count I for overtime compensation, PETROCK has

  agreed to the settlement provisions contained in Exhibit “A”.

        5.     Reasonableness of Attorneys’ Fees and Costs: A settlement value

  was reached which included Plaintiff’s attorneys’ fees. The agreed-upon amount

  of attorneys’ fees to Plaintiff’s counsel is for the representation of Plaintiff

  throughout the entirety of the representation of Plaintiff through conclusion of the

  settlement, separate from and without regard to the amount paid to settle the

  FLSA claims for the Plaintiff.     Defendant and its counsel stipulate to the

  reasonableness of the lodestar amount of fees sought by Plaintiff in this case.

  Plaintiff’s counsel further stipulates that the settlement proceeds it receives will be



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  applied to attorney’s fees. Accordingly, the Parties respectfully request that the

  Court approve the payment of the agreed-upon amount for attorney’s fees set

  forth in the Settlement Agreement to Plaintiff’s counsel.

        6.    Accordingly, the parties jointly request that the Court enter an Order

  approving the Settlement Agreement, and dismissing Count I only with prejudice.


               Respectfully Submitted on this 22nd day of March 2021,


  /s/ Gina M. Cadogan                          /s/ Kelly H. Kolb
  GINA MARIE CADOGAN, Esq.                     KELLY H. KOLB, Esq
  Fla. Bar No.: 177350                         Fla. Bar No.: 343330
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                               EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO: 0:21-CV-601 16-RKA


  DONALD G. PETROCK,

          Plaintiff,

  V.

  J&J TOWING, INC.,

          Defendant.

  - - - - - - - - - - - - - - - - - '/

          SETTLEMENT AGREEMENT AND RELEASE AS TO COUNT I
          This SETTLEMENT AGREEMENT AND RELEASE ("Agreement") is made and
  entered into by and between J&J Towing, Inc. ("J&J") and Donald G. Petrock ("Petrock")
  (collectively, the "Parties") on this_ day of March, 2021 (the "Effective Date").

                                             RECITALS

          WHEREAS, the Petrock was employed by J&J from on or about November 2017 to May
  2019;

          WHEREAS disputes have arisen between the Parties regarding Petrock' s compensation
   while employed by J&J;

           WHEREAS, Petrock filed a lawsuit against J&J styled Donald J. Petrock v. J&J Towing,
   Inc., with the United States District Court for the Southern District of Florida, Case No. 2 l-CV-
   60116-RKA (the "Lawsuit"), alleging in Count I of his Complaint that J&J violated the Fair Labor
   Standards Act, 29 U.S.C. § 201 et seq. (FLSA) by failing to pay overtime for all hours worked in
   excess of forty (40) within a workweek ("FLSA Claim");

          WHEREAS, J&J denies all claims asserted by Petrock in the Lawsuit including the FLSA
   Claim; and

            WHEREAS, the Parties are desirous of settling the FLSA Claim to avoid further litigation,
   and that the Parties have agreed to enter into this Agreement solely to resolve Petrock' s FLSA
   Claim and avoid the expense, time, trouble, and uncertainty of further investigation and/or
   litigation.
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          NOW THEREFORE, for and in consideration of the mutual promises and agreements
  recited below, and for other good and valuable consideration, the receipt and sufficiency of which
  is hereby acknowledged and confessed, the Parties to this Agreement agree as follows:

         1.      REAFFIRMATION OF RECITALS. The foregoing recitals are complete, true
  and correct and are incorporated herein and made part hereof by this reference.

          2.      CONDITION PRECEDENT. This Agreement and the settlement described
  herein are subject to the condition precedent that this Agreement must be approved in its current
  form by a written order entered by the Court in the Lawsuit ("Approval Order"). In the absence
  of such an Approval Order, every part of this Agreement is null, void ab initio, unenforceable, of
  no force or effect, and shall have no evidentiary or other legal value. The Parties agree not to take
  any action to prevent or impede the entry of an Approval Order by the Court approv ing this
  Agreement, in its current form, from becoming final.

          3.      SOLE AND EXCLUSIVE PAYMENT.                         After the Parties execute this
  Agreement, after Petrock executes and returns to Defendant's counsel a signed W-9 form , after
  the entry of an Approval Order and after Count I of the Action is dismissed with prejudice, J&J
  will deliver to Petrock' s counsel checks totaling the gross sum (before deductions, withholding,
  etc.) of Eleven Thousand Eight Hundred and Ninety-Nine Dollars and no cents ($11 ,899.00)] and
  nothing else (the "Settlement Payment"). The Settlement Payment will be paid within seven (7)
  calendar days after the latter of the events identified in this paragraph 3 and will be allocated and
  paid as follows :

          A. J&J will pay Petrock the gross sum of Four Thousand One Hundred Forty Six Dollars
             and Fifty Cents ($4,146.50), less normal and appropriate taxes and withholding, as
             alleged FLSA overtime wages for which J&J will issue a Form W-2 to Petrock;

          B. J&J will pay Petrock the gross sum of Four Thousand One Hundred Forty Six Dollars
             and Fifty Cents ($4,146.50), as alleged FLSA liquidated damages for which J&J will
             issue a Form 1099 to Petrock; and

          C. J&J will pay Petrock' s counsel the gross sum of Three Thousand Six Hundred and
             Six Dollars and no cents ($3 ,606.00) as attorney fees and costs related to Petrock' s
             FLSA Claim for which J&J will issue a Form 1099 to Petrock and his counsel.

         Petrock acknowledges that the Settlement Payment constitutes fair and adequate
   compensation for the promises and covenants of the Petrock set forth in this Agreement.

           4.      PETROCK'S RELEASE OF CLAIMS. Petrock, on behalf of himself and his
   insurers, accountants, proxies, executors, administrators, spouse, family members, representatives,
   attorneys, agents, assigns, and partners, hereby irrevocably releases, holds harmless, and forever
   discharges J&J , as well as its current and former shareholders, owners, principals, officers,
   directors, partners, attorneys, agents, insurers, agents, employees, parent companies, affiliates,
   holding companies, subsidiaries, predecessors, successors, and assigns, in their individual and
   business capacities (collectively, "Released Parties"), jointly and severally, of and from any and
   all claims, losses, contracts, obligations, debts, controversies, torts, demands, causes of action,
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  suits, costs, judgments, liabilities, expenses and damages of any kind whatsoever, whether known
  or unknown, suspected or unsuspected, asserted or un-asserted, whether legal or equitable, fixed
  or contingent, liquidated or un-liquidated, whether based in common law, statute, contract,
  warranty, tort or otherwise for overtime, minimum wage or other similar claims which were
  asserted or could have been asserted in Count I of the Lawsuit for unpaid overtime compensation
  ("Released Claim").

           5.     Nothing in this Agreement is intended to or shall be construed to waive, release,
  forfeit, abridge, deny, reduce, or impair Petrock's other claims in the Lawsuit. Thus, Counts II
  and III of the Lawsuit alleging violation of the Florida Civil Rights Act of 1992, Fla. Stat. § 760.01 ,
  et seq. remain intact.

          6.      MEDICAID REPRESENTATIONS. As a condition of the enforceability of this
  Agreement, Petrock and his counsel represent and warrant that: (i) in Count I of the Lawsuit,
  Petrock has not demanded or asserted any claim for past or future medical expenses or costs related
  to any act or omission of the Released Parties or any aspect of his employment with J&J; (ii) this
  Agreement shall not be construed to waive, release, forfeit, abridge, deny, reduce, or impair
  Petrock from collecting any amounts due to him for past or future medical expenses or costs related
  to any act or omission of the Released Parties or any aspect of his employment with J&J; (iii)
  Petrock is not currently eligible to collect, is not presently collecting, has not submitted a request
  for and does not reasonably anticipate submitting a request (in the next 30 months) for Medicare
  or Social Security Disability Insurance benefits; (iv) Petrock is under the age of 65; (v) Petrock is
  not currently being treated for and does not reasonably anticipate being treated in the future for
  kidney failure or end stage renal disease; (vi) Petrock has not been diagnosed with and has
  received no treatment for and does not reasonably anticipate receiving future treatment for
  Amyotrophic lateral sclerosis (ALS); (vii) no portion of any expenses incurred to date in
  connection with the claims made in the Action and settled in this Agreement have been paid, or
  are reasonably expected to be paid, pursuant to any health insurance program provided, or funded
   in whole or in part, by Medicare or Medicaid; and (viii) Petrock and his counsel are aware of no
  subrogation claims, liens, or claims by Governmental Entities for payment of any type of character
  related to any act or omission of the Released Parties or any aspect of his employment with
   Defendants.

            7.     TAX ISSUES. The Parties will report, as may be required by law for income tax
   purposes, their respective payment and receipt of the Settlement Payment. Each Party shall bear
   his/its respective tax liabilities, if any, arising from this Settlement. Petrock acknowledges that
   the Released Parties have made no representations to him regarding the tax consequences of any
   amount paid pursuant to the terms of this Agreement. Petrock agrees that should the Settlement
   Payment be found to be subject to any additional federal or state taxes, he bears the sole and
   exclusive responsibility for paying such taxes, as well as any interest and penalties imposed by
   any governmental entity thereon.

           8.    CHOICE OF LAWNENUE. This Agreement shall be governed by, construed,
   and enforced in accordance with, and subject to, the laws of the State of Florida or federal law,
   where applicable. The Court in the Lawsuit shall retain continuing jurisdiction to enforce the terms
   of this Agreement.
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                9-      ENTIRE AGlUT.KMENT. It is expressly understood and agreed that this
       Agreement embodies th.e entire agreement between the Parties a~ to its subject matter and
       s~ipersedes any and all prior agreementsi negotiations, arrangements, or understandings between
       and among them relative to the Released Claims. No oral understandings, statements, promises,
       terms, conditions, obligations, or agreements contrary or in addition to the tenns of this Agreement
       cx!st. Th\s Agreem~nt rnay not be changed by oral representations, WJd may only l,)e amended by
       writteo. ir1strument exect1ted by a duly authorized representative of each of the Parties, or their
       respective successors or assigns. ln making this Agreement, the Parties have not relied upon any
       stati:rnenls. agreements. promises, arrangements. or oral understandings concerning this matter
       other than those, if any, expressly set forth in this Agreement.

                10.    NO ADMISSION OF LlABILltY. Petrock acknowledges that J&J denies that
       il violated the violated any federal , state or local statute; ordinance, rule. regulation or common
       bw or imprnperly compensated him in any way. ihe Parties have entered into this Agreement
       solely to avoid the substantial costs, inconvenience and uncertainties (If further litigation of Count
       l of the l.,~wsuit. The Parties agree that neither this Agreem.ent ;nor any party's performance of
       any <)bligation pursuant to this Agreement is an.admission of My violation by the Released Patties
       of any laws, including but not lirnit~d to the laws and regulations ,identified in Paragraph 4 above,
       and shall not constitute evidence of any violation of otnon•compliance with any statute or law by
       J&J or the Released Parties.

                1l.     LEGAL CONSULTATlON. Petrock acknowledges that he is represented by
       legal counsel of his choosing and obtained legal advice from hls counsel prior to executing this
       Ag!'eement. To the extent not otherwise described iti this Agreement. each Party shall bear
       hi:;/her/its or his own cos~, expert witness fees, attomeys' fees, and other ex.penses incurred in
       c()nnection with the Action and the m:gotiation, preparation, and execution of this Agreement.

               \2.     OR[GINAL AGltf.:EMENT. This Agreement may be ex.ecuted by the Parties in
       separate counterparts, each of which may be deemed tei constitute an .original.

               13.     VOLUNTARY WAlVER OFRIGIITS. The ?etrock further acknowledges that:
       (i) he signed this Agreernent knowingly and volunt.atily,.without any duress or coercion; (ii) he
       1·ead and understands this Agreement in its entirety; (iii) he !}as consulted with an anomey of his
       own choosing with respect lo this Agreement before signing it; and (iv) he has not been forced to
       sign this Agreement by anyone.
                                                                .        . . u-th.
                                                          EXEGUTEP on fhis _Jil._ day of March, 2021.




                                                          J&J TOWING, INC. by _ _ _ _ __ _
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